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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                  Chapter 13
         Gene D. White, Jr.                             Bankruptcy No.20-11005-AMC
         Patricia A White

                              Debtors

                          OBJECTION OF CHAPTER 13 TRUSTEE
                        TO CONFIRMATION OF PLAN OF DEBTORS

        AND NOW comes Scott F. Waterman, Esq., Standing Chapter 13 Standing Trustee, to
object to confirmation of the chapter 13 plan of the Debtors, because it fails to comply with 11
U.S.C. Sections 1322 and/or 1325 of the Bankruptcy Code, and/or Debtors have failed to provide
information, evidence, or corrections to the petition, schedules, statements, or other documents
filed by Debtors to enable the standing trustee to evaluate the Plan for confirmation, as follows:


       Debtor(s) has/have failed to file an amended plan as directed at the meeting of creditors
held under 11 U.S.C. Section 341(a).

       Debtor(s) has/have failed to file amended schedules as directed at the meeting of creditors
held under 11 U.S.C. Section 341(a).

       The Plan fails to provide that all of the projected disposable income of debtor(s), who
has/have current monthly income which is above median, will be applied to make payments to
unsecured creditors under the Plan, in violation of 11 U.S.C. Section 1325 (b)(3).

      WHEREFORE, the standing trustee requests that the Court enter an order in the form
annexed hereto denying confirmation of the Plan.


                                                 Respectfully submitted,

                                                 /s/ Scott F. Waterman
                                                 Scott F. Waterman, Esquire
                                                 Chapter 13 Standing Trustee
